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18                                      UNITED STATES DISTRICT COURT

19                                  CENTRAL DISTRICT OF CALIFORNIA

20   IN RE: NATIONAL FOOTBALL
                                                      Case No. 2:15-ml-02668−PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
21
     ANTITRUST LITIGATION                             NFL DEFENDANTS’ OBJECTIONS TO
22   ______________________________                   PROPOSED JUDGMENT

23                                                    Judge: Hon. Philip S. Gutierrez
     THIS DOCUMENT RELATES TO:                        Courtroom: First Street Courthouse
24   ALL ACTIONS                                                 350 West 1st Street
25                                                               Courtroom 6A
                                                                 Los Angeles, CA 90012
26

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 1            Defendants object to Plaintiffs’ proposed judgment, ECF No. 1489-1, insofar as it
 2   seeks entry of partial judgment. Entry of partial judgment is legally improper and makes
 3   no practical sense. Many issues need to be resolved before any entry of final judgment, and
 4   entering a single final judgment will avoid needless and wasteful piecemeal appeals. The
 5   Court should defer entry of judgment until Plaintiffs’ claims are fully addressed.
 6                                            ARGUMENT
 7            Plaintiffs lodged a proposed judgment that purports to memorialize the jury verdict
 8   in this case. Defendants do not understand Plaintiffs or the Court to be suggesting that the
 9   proposed and partial judgment be entered at this point. Insofar as that is Plaintiffs’ intent,
10   taking that step would be wholly improper.
11            Entry of judgment is appropriate only where a final decision “ends the litigation on
12   the merits and leaves nothing for the court to do but execute the judgment.” See Parsons
13   v. Ryan, 949 F.3d 443, 472 (9th Cir. 2020) (quoting United States v. Washington, 761 F.2d
14   1404, 1406 (9th Cir. 1985)). Federal Rule of Civil Procedure 54(b) creates a limited
15   exception and allows for entry of partial judgment “if the Court makes an express
16   determination that there is no just reason for delay.” Light Petroleum, Inc. v. ExxonMobil
17   Oil Corp., 2013 WL 12183613, at *2 (C.D. Cal. Mar. 22, 2013). Plaintiffs have not
18   requested such a determination, and the Court should not make one here.
19            First, there is no reason to deviate from the longstanding, traditional rule of entering
20   judgment only when all claims are fully resolved. Partial judgment under Rule 54(b) is
21   appropriate only “where necessary to avoid a harsh and unjust result, documented by
22   further and specific findings.” Morrison-Knudsen Co. v. Archer, 655 F.2d 962, 966 (9th
23   Cir. 1981). Here, there is no evidence (and Plaintiffs have adduced none) that any “harsh
24   and unjust result” would arise from properly entering judgment once all claims are fully
25   resolved. On the contrary, Plaintiffs’ proposed judgment expressly identifies the issue of
26   injunctive relief as remaining to be addressed based on the trial record. ECF No. 1489-1,
27   ¶ 7. Nor is this an “unusual case in which the costs and risks of multiplying the number of
28   proceedings and of overcrowding the appellate docket are outbalanced by pressing needs

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 1   of the litigants for an early and separate judgment as to some claims.” Morrison-Knudsen
 2   Co., 655 F.2d at 965. Just the opposite: As explained further below, the appellate court
 3   would greatly benefit from a single, unified judgment.
 4            Second, partial judgment is even more improper where, as here, there are other legal
 5   issues to be resolved in this Court that involve “similarity of legal or factual issues.” Wood
 6   v. GCC Bend, LLC, 422 F.3d 873, 882 (9th Cir. 2005) (cleaned up) (quoting Morrison-
 7   Knudsen Co., 655 F.2d at 965). Plaintiffs are seeking injunctive relief, and there are similar,
 8   if not identical, legal and factual underpinnings for that claim. See generally ECF No. 441
 9   (Plaintiffs’ Second Consolidated Amended Complaint). Resolving the injunctive claim, if
10   doing so is even necessary in light of the failures of Plaintiffs’ case, see infra at 3, will
11   involve many of the same issues that were submitted to the jury, including (but not limited
12   to) the relevant antitrust market, the existence of anticompetitive and procompetitive
13   effects, and the implication of the Sports Broadcasting Act on Plaintiffs’ claims. Entering
14   judgment as to the damages claim at this point would thus lead to multiple appeals of
15   identical and overlapping issues. This Court should decline to enable “[s]uch piecemeal
16   appeals” that “would likely result in the duplication of work and the needless expense of
17   resources for the parties.” Parker Home Improvement Source, Inc. v. Liberty Surplus Ins.
18   Corp., 2013 WL 12138680, at *2 (C.D. Cal. Mar. 27, 2013). Courts commonly prevent
19   such appeals in the interest of judicial economy. See, e.g., In re Broiler Chicken Antitrust
20   Litig., No. 16-CV-08637, ECF No. 6896 (N.D. Ill. 2023) (denying entry of partial judgment
21   under Rule 54(b)). Instead, the case “should be reviewed only as [a] single unit[]” once all
22   claims are resolved. See Curtiss-Wright Corp. v. General Elec. Co., 446 U.S. 1, 10 (1980).
23            Third, not even the damages claim is ripe for judgment, because the Court has yet to
24   determine apportionment of the verdict among class members. In a class action, “the
25   liability claims of the class will not be the subject of a final decision, and therefore will not
26   be appealable, until the district court establishes both the formula that will determine the
27   division of damages among class members and the principles that will guide the disposition
28   of any unclaimed funds.” Strey v. Hunt Int’l Res. Corp., 696 F.2d 87, 88 (10th Cir. 1982).

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 1   Here, this Court has not yet addressed either of these matters, nor has it been presented
 2   with a mechanism for doing so—even assuming that one can be identified. At trial, all
 3   Plaintiffs’ damages calculations were premised on applying a “reduction factor” to each
 4   class member’s purchases. See ECF No. 1490, at 8. The jury completely rejected Plaintiffs’
 5   models, which—in addition to requiring judgment for Defendants or decertification of the
 6   class, see ECF No. 1490, at 6–10—means there is no discernible formula to apportion
 7   damages among class members. And Plaintiffs have not proposed any alternative method
 8   of apportionment. Without the requisite “thorough framework for determining each
 9   individual class member’s damages,” this Court should decline to enter judgment. See
10   Cook v. Rockwell Int’l Corp., 618 F.3d 1127, 1138 (10th Cir. 2010); see also Silivanch v.
11   Celebrity Cruises, Inc., 2000 WL 1211578, at *4 (S.D.N.Y. Aug. 25, 2000) (“[A]
12   determination of damages that does not allocate an aggregate sum among claimants is not
13   final.” (cleaned up) (quoting 15B Charles A. Wright et al., Federal Practice and
14   Procedure, § 3915.2, at 278 (1992)).
15           Fourth, entering partial judgment prematurely would significantly prejudice
16   Defendants. Because judgments are generally enforceable 30 days after entry, Fed. R. Civ.
17   P. 62(a), Defendants would presumably need to provide a bond or other security to stay
18   enforcement pending appeal and resolution of other issues. See Fed. R. Civ. P. 62(b). The
19   Court would have discretion over the existence and amount of the bond. Gemcap Lending
20   I LLC v. Crop USA Ins. Agency Inc., 2021 WL 4527741, at *1 (C.D. Cal. July 21, 2021)
21   (listing factors courts consider when determining bond requirement (quoting Dillon v. City
22   of Chicago, 866 F.2d 902, 904–05 (7th Cir. 1988))). But the potential difficulty and actual
23   prejudice of any bond requirement cannot be overstated, and the premium alone would be
24   significantly prejudicial to Defendants given the unwarranted size of the verdict. Given the
25   many deficiencies in Plaintiffs’ case, the need to post a bond should never arise at all, but
26   certainly not on an unnecessarily expedited schedule.
27           Finally, there is no warrant to enter judgment in Plaintiffs’ favor at all, for the
28   reasons set forth in Defendants’ motion for judgment as a matter of law, ECF No. 1456,

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 1   and supplemental motion for judgment as a matter of law or for a new trial, ECF No. 1490.
 2   This case never should have gone to the jury because of the glaring deficiencies in
 3   Plaintiffs’ expert testimony, which the Court recognized prior to verdict. ECF No. 1456, at
 4   3–10; see 06/18/24 Tr. 1621:4–1623:15. Moreover, the jury verdict is indefensible for
 5   myriad reasons, including the jury’s self-created and nonsensical damages model, ECF No.
 6   1490, at 4–10, and Plaintiffs’ wholly improper and prejudicial eleventh-hour reinvention
 7   of their case in contravention of their representations to this Court, the Ninth Circuit, and
 8   the Supreme Court for over a decade, id. at 10–15. The Court should instead enter
 9   Defendants’ proposed judgment, ECF No. 1490-2, terminating the case.
10            For all these reasons, the Court should decline to enter Plaintiffs’ proposed partial
11   judgment and defer entry of judgment until all Plaintiffs’ claims are fully resolved, and the
12   decision is truly “final.” See Novella v. Westchester Cty., 335 Fed. App’x 73, 74 (2d Cir.
13   2009) (“A ‘final decision’ generally is one which ends the litigation on the merits and
14   leaves nothing for the court to do but execute the judgment.” (quoting Catlin v. United
15   States, 324 U.S. 229, 233 (1945))); see also NAACP v. Florida Dep’t of Corr., 2005 WL
16   6046076, at *1 (M.D. Florida 2005) (“[T]he Court withheld the entry of judgment pending
17   resolution of Plaintiffs’ claims for injunctive relief.”); Bell v. Taylor, 791 F.3d 745, 748
18   (7th Cir. 2015) (district court ruling “not final” where “the court did not resolve [the] claims
19   for injunctive relief”). That approach benefits the parties, this Court, and any courts that
20   review this case on appeal.
21                                          CONCLUSION
22            The Court should decline to enter judgment until after complete resolution of
23   Plaintiffs’ claims.
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